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 8                                  UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                   Case No. 1:18-cr-00197-DAD-BAM
12                     Plaintiff,
13           v.                                   ORDER OF RELEASE
14    ARTEMIO FAUSTINO SANTIAGO-
      TAPIA,
15
                       Defendant.
16

17
           The above named defendant having been sentenced on February 3, 2020 to TIME
18
     SERVED,
19
           IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20
     judgment and commitment order will follow.
21
     IT IS SO ORDERED.
22

23      Dated:    February 3, 2020
                                                  UNITED STATES DISTRICT JUDGE
24

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